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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

____________________________________
                                    :
ADRIAN MARCELO RAMIREZ, et. al. :       Civil Action No. 2:19-cv-12408-WJM-AME
                                    :
                  Plaintiff(s)      :   Hon. Andre M. Espinosa, U.S.M.J.
                                    :
                                    :
             v.                     : JOINT PROPOSED DISCOVERY PLAN
                                    :
SMART FOODS INC., et. al,           :
                                    :
                   Defendant(s)     :
                                    :
____________________________________:


1.    Set forth the name of each attorney appearing, the firm name, address and telephone
      number and facsimile number of each, designating the party represented.
      See attached Exhibit A
2.    Set forth a brief description of the case, including the causes of action and defenses
      asserted. Unpaid wages pursuant to the FLSA, NJWHL, and NJWPL
                                                                   XX
3.    Have settlement discussions taken place? Yes __________ No __________

      (a)   What was plaintiff’s last demand?

             (1)                       -
                   Monetary demand: $ ___________
             (2)                         -
                   Non-monetary demand: __________

      (b)   What was defendant’s last offer?

             (1)                      -
                    Monetary offer: $ ___________
             (2)                        -
                    Non-monetary offer: __________

4.                        XX
      The parties [have __________ have not __________] met pursuant to Fed. R. Civ. P.
      26(f):




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